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         Case 1:22-cv-02785-JMF          Document 71       Filed 08/02/24      Page 2 of 31




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     BH7E84H CCB<AG87 4F &E8F<78AG *;8 %99<68 B9 <I<? (<:;GF AI8FG<:4G<BAF 4A7
         BH7E84HSF8I<4G<BA9EB@<F&E46G<68B9I4?H4G<A:)G499&8E9BE@4A68                

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         %A?LGB)J<G6;84EF9G8E8E*8E@<A4G<BA                                      

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        Case 1:22-cv-02785-JMF             Document 71                  Filed 08/02/24                Page 3 of 31




                     898A74AGFS94<?HE8GB477E8FF4ALFB 64??87PC8E9BE@4A68<FFH8FQ7HE<A:
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FH@@4EL=H7:@8AG *;8E86BE78I<78A6878@BAFGE4G8FG;4G898A74AGFE8G4?<4G874:4<AFG&?4<AG<99

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?847<A:GB898A74AGFS786<F<BAGBG8E@<A4G8;8E A7J;<?8898A74AGFB998EJ;4GG;8L6?4<@GB

58 G;8<E P?8:<G<@4G8Q E84FBAF 9BE HA78EG4><A: G;8<E 47I8EF8 46G<BAF G;8 E86BE7 8I<78A68 C?4<A?L

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&?4<AG<99<AE8FCBAF8GB;8EE8C84G8747IB646L4:4<AFG7<F6E<@<A4G<BA4A7E8G4?<4G<BA 

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786<F<BA GB G8E@<A4G8 &?4<AG<99SF 8@C?BL@8AG JBH?7 ?847 4 E84FBA45?8 =HEL GB 6BA6?H78 G;4G

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4FG;8;847B9<GLB??8:8SF%99<68B9<I8EF<GL4A7B@C?<4A68G;8P<I8EF<GL%99<68Q >G 

$B N @BAF8I8E4?BG;8E7HG<8F4A7E8FCBAF<5<?<G<8F&?4<AG<994A7G;8<I8EF<GL%99<68J8E8

6;4E:87J<G;<AI8FG<:4G<A:<AG8EA4?6B@C?4<AGF4G<GLB??8:84??8:<A:7<F6E<@<A4G<BA54F87BA

E4688G;A<6<GL:8A78E4A77<F45<?<GLFG4GHF4FJ8??4F6B@C?4<AGFB9F8KH4?@<F6BA7H6G >G $B 

N    &?4<AG<994A7G;8<I8EF<GL%99<68GLC<64??LE868<I874A4I8E4:8B958GJ88A9<I84A7G8A

6B@C?4<AGF C8E @BAG;  &? SF (   5 BHAG8EFG4G8@8AG B9 #4G8E<4? 46GF 1;8E8<A49G8E P&? SF

AGE ) Q2N *;8&E8F<78AGB9<GLB??8:8BI8EF88F6BAGEB?F4A74??B64G8F4??9HA7<A:9BEG;8

<I8EF<GL%99<68<A6?H7<A:G;85H7:8G9BE;<E<A:4A7F6;87H?<A:FG499 &? SFAGE ) NN         

         HE<A: G;8 84E?L FG4:8F B9 ;8E G8AHE8 &?4<AG<99 JBE>87 HA78E G;8A &E8F<78AG "<F4 B<6B

E4A68F >G $B N  *;EBH:;BHG&E8F<78AGB<6BSFG8AHE8&?4<AG<99A8I8EE868<I874AL

I8E54?BEJE<GG8A7<F6<C?<A8E8:4E7<A:;8E=B5C8E9BE@4A68<A6?H7<A:AB6B@C?4<AGFBE7<F6<C?<A4EL

<FFH8FE8?4G<A:GB;8E@4AA8E@8G;B7BE89986G<I8A8FF<A;4A7?<A:<AI8FG<:4G<A:BEE8FCBA7<A:GB

6B@C?4<AGF &? SFAGE ) N  

     +!)-2)&&:1)-$)-'1!-$ .-#+31).-1 '!)-12 .3$0%!3%'!0$)-'7-$! .$$

         ABE45BHG#4E6;      &EB98FFBE"LA74B77  FFB6<4G8&EB98FFBE4G<GLB??8:8  

?B7:8746B@C?4<AG4:4<AFG;8EFHC8EI<FBEEH68EBA<A4A7898A74AGBH7E84HJ;B4GG;8

G<@8BI8EF4J&EB98FFBEB77SF78C4EG@8AG4FG;884AB9G;8B?<A&BJ8??)6;BB?4G<GLB??8:8 

>G $B N  &?4<AG<99J4FG4F>87J<G;<AI8FG<:4G<A:&EB98FFBEB77SF6B@C?4<AG >G $B 

N  F4E8FH?GB9&?4<AG<99SF<AI8FG<:4G<BAF;8<FFH879BE@4?9<A7<A:F4A76BA6?HF<BAFG;4G

E86B@@8A787 EH68 EBA<A 58 E8@BI87 9EB@ ;<F CBF<G<BA 4A7 G;8 898A74AG BH7E84H 58

E8CE<@4A7879BE;<FEB?8<AE8G4?<4G<BA4:4<AFG&EB98FFBEB77 >G $B NN   898A74AG

BH7E84HJ4F<A9BE@87B9G;<F6BA6?HF<BA4A7E86B@@8A74G<BA4GG;8G<@8<GJ4F@478  5BG;

7HE<A: 4 @88G<A: J<G; G;8A &E8F<78AG B<6B 4A7 5L E8I<8J<A: G;8 JE<GG8A @8@BE4A7H@ G;4G




                                                      
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&?4<AG<99 CE8C4E87 @4><A: G;8F8 E86B@@8A74G<BAF  &? SF AGE )  NN     F 4 E8FH?G B9

&?4<AG<99SF 899BEGF G;<F J4F G;8 BA?L G<@8 BH7E84H 8I8E E868<I87 4 7<F6<C?<A4EL JE<G8 HC

G;EBH:;BHG;<FG8AHE8 &? SFAGE ) N 

      .3$0%!3 //.)-2%$ !1 0%1)$%-2 (% &&)#% .& )4)+ )'(21 -4%12)'!2).-1 !-$
           .3$0%!3:1 %4)!2).-&0.,)10!#2)#%.&4!+3!2)-'2!&&%0&.0,!-#%

                  .3$0%!3:1)-12!++!2).-!10%1)$%-2!-$()18!//0.!#(92.,!-!'%,%-2

         9G8E B<6B J4F 9BE687 GB FG8C 7BJA 5L +$/ ;4A68??BE #<??<>8A BH7E84H J4F

4CCB<AG87&E8F<78AG<A;8EFG847<A$BI8@58E            &? SFAGE ) NN   F&E8F<78AGBH7E84H

J4F E8FCBAF<5?8 9BE 4A7 6BAGEB??87 G;8 5H7:8G B9 G;8 <I8EF<GL %99<68 <A6?H7<A: 9HA7<A: 9BE

&?4<AG<99SF FG499  &? SF AGE )  N     &E8F<78AG BH7E84HSF P4CCEB46; GB @4A4:<A: 4 6B@C?8K

BE:4A<M4G<BAQJ4FGBP8I4?H4G8Q;<FFG4994A7J;8AG;8LJ8E8ABGC8E9BE@<A:HCGBBH7E84HSF

8KC86G4G<BAF49G8EG;BF88I4?H4G<BAFBH7E84HJBH?7P@BI8G;8@BHGB9G;8CBF<G<BA<9G;8L4E8

12ABG45?8GB9H?9<??G;8E8FCBAF<5<?<G<8FG;4G1;8;472;4I8:<I8AGBG;8@ Q&? SFAGE ) N  

         +CBA4FFH@<A:G;8EB?84F&E8F<78AGBH7E84H@8GJ<G;&?4<AG<99BA4@BAG;?L54F<F &? SF

AGE ) N       HE<A:G;8F8@BAG;?L@88G<A:FBH7E84HCEBI<787&?4<AG<99J<G;:H<74A684A7

9887546>BA&?4<AG<99SFE8FCBAF<5<?<G<8F4A7BA:B<A:<AI8FG<:4G<BAF &? SFAGE ) N  *;<FJ4F

<A946G6BAF<FG8AGJ<G;G;8+A<I8EF<GLSF9BE@4?CB?<6L9BEG;8&E8F<78AGGB@88GJ<G;&?4<AG<99GB

E8I<8J%99<68B9<I8EF<GL<AI8FG<:4G<BAFBA4@BAG;?LBEE8:H?4E54F<F &? SFAGE ) N  

                 .3$0%!3-%4%0-.2%$!-7.&+!)-2)&&:18/%0&.0,!-#%)113%19!&2%02(% 
                  -4%12)'!2).-1

         EBHA7G;8G<@8;8J4F4CCB<AG87BH7E84H?84EA87G;4GG;8+A<G87)G4G8F8C4EG@8AGB9

7H64G<BASF%99<68B9<I<?(<:;GFP%(QJ4F6BA7H6G<A:4A<AI8FG<:4G<BA<AE8FCBAF8GBGJB

FC86<9<66B@C?4<AGFBHGB9G;8;HA7E87FB96B@C?4<AGFG;4G&?4<AG<994A7G;8%99<68B9<I8EF<GL

;4A7?87BI8EG;86BHEF8B9&?4<AG<99SFG8AHE8PG;8<EFG%(AI8FG<:4G<BAQ &? SFAGE ) NN



                                                       
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 *;8<EFG%(AI8FG<:4G<BAE8FH?G87<A9<A7<A:FG;4GBA8B9G;8<AI8FG<:4GBEF<AG;8%99<68B9

<I8EF<GL "4-4A74 FE84? -<??<4@F 94<?87 GB G<@8?L 6BA6?H78 ;8E <AI8FG<:4G<BA <AGB G;8 P9<EFG

6B@C?4<AG Q&? SFAGE ) NN %(FFH87G;<F6BA6?HF<BA49G8EG;8<EFG%(AI8FG<:4G<BA

J;<?84?FBABG<A:#F FE84??46>87G;8E8FBHE68FA868FF4ELGB;4A7?8G;8<AI8FG<:4G<BA<A4FC887<8E

@4AA8E &? SFAGE ) NN 

        %(SFE8CBEG4?FBE846;87G;86BA6?HF<BAG;4G&?4<AG<99;4A7?874PF86BA76B@C?4<AGSFQ

<AI8FG<:4G<BAGBBF?BJ?L &? SFAGE ) NN  HGAE846;<A:<GF6BA6?HF<BA%(94<?87

GBG4>8<AGB6BAF<78E4G<BA&?4<AG<99SFE84FBA<A:9BEG;8?8A:G;B9G<@8<GGBB>;8EGB6B@C?8G8G;8

<AI8FG<:4G<BA<A6?H7<A:G;4GG;8PF86BA76B@C?4<A4AGSFQ4??8:4G<BAF?87&?4<AG<99GB4F68EG4<AG;4G

G;8F86BA76B@C?4<A4AG<A946GHA78EGBB>46BAF8AFH4?EB@4AG<6E8?4G<BAF;<CJ<G;G;8C8EFBAG;8L

;47466HF874F4A4??8:87F8KH4?;4E4FF8E4A7G;4GG;84??8:87;4E4FF8EJ4FAB?BA:8E4A8@C?BL88

B9G;8+A<I8EF<GL@4><A:<G7<99<6H?GGB<AG8EI<8JG;8@4FC4EGB9&?4<AG<99SF<AI8FG<:4G<BA &? SF

AGE ) NN  +?G<@4G8?L898A74AGBH7E84H4:E887J<G;&?4<AG<99SFI<8J<AE8FCBAF8

GB4A74GG;8G<@8B9%(<FFH<A:<GF9<A7<A:F &? SFAGE ) N 

     .3$0%!3 %')-1 %4)!2)-' &0., 2!-$!0$ 0!#2)#%1 !-$ -$%0,)-)-' +!)-2)&&:1
        .0*-+72.5)2#(%!01 &2%0%0%0,)-!2).-

        898A74AG BH7E84H J4F &E8F<78AG J;8A G;8 <EFG %( AI8FG<:4G<BA 6BA6?H787  &? SF

AGE )  NN    BH7E84H @8G J<G; &?4<AG<99 GB 7<F6HFF G;8 9<A7<A:F B9 G;8 <EFG %(

AI8FG<:4G<BA4A7GB7<F6HFFJ4LFG;4GG;8L  GB:8G;8E  P64A<@CEBI8G;8JBE>B9G;8B99<68 Q

&? SF AGE )  N     HG BH7E84H A8I8E <78AG<9<87 4AL C8E9BE@4A68 <FFH8F J<G; &?4<AG<99 ABE

<A7<64G87 GB ;8E <A 4AL J4L G;4G ;8 J4F HA;4CCL J<G; ;8E C8E9BE@4A68 A8I8E <FFH<A: ;8E 4AL

9BE@4?BE<A9BE@4?7<F6<C?<A8C8E9BE@4A68E8I<8JFBE8I4?H4G<BAF &? SFAGE ) NN               

  A7887+$/9BE@4??LE8CE8F8AG87GB%(G;4G4FC4EGB9&?4<AG<99SF4A7G;8+A<I8EF<GLSF

9B??BJ HCHA78E+$/SFE8FB?HG<BA4:E88@8AGJ<G;%(P4??5HGBA8B9G;8<AI8FG<:4G<BAF;4F


                                                    
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1F<62588A6B@C?8G87Q4A7G;4GG;<FF<A:?8<A6B@C?8G8<AI8FG<:4G<BAJ4F78?4L877H8GBG;8G4E:8GSF

C8A7<A:6E<@<A4?6;4E:8FJ;<6;CEB;<5<G87&?4<AG<999EB@6B@C?8G<A:G;8<AI8FG<:4G<BABA47I<68

B9G;8G4E:8GSF6BHAF8?  4A7J;<6;&?4<AG<99?4G8E6B@C?8G87 &? SFAGE ) NN  

        -;8A &?4<AG<99 @8G J<G; BH7E84H GB 7<F6HFF ;BJ G;8L 6BH?7 <@CEBI8 G;8 JBE> B9

&?4<AG<99SF B99<68 &?4<AG<99 E8DH8FG87 E8FBHE68F 9BE 477<G<BA4? <AI8FG<:4GBEF 5864HF8 F;8 P;47

6BA68EAF45BHGE8FBHE68F58<A:4??B64G87GBG;8B99<68 Q&? SFAGE ) N        HGE4G;8EG;4A:E4AG

&?4<AG<99SFE8DH8FGBH7E84H7<F6BAG<AH87;<F@BAG;?L@88G<A:FJ<G;&?4<AG<99 &? SFAGE ) NN

         BH7E84HE8 <AFG<GHG87G;8F8@BAG;?L@88G<A:F  6BAF<FG8AGJ<G;+A<I8EF<GLCB?<6L  

BA?L %2$0;8G8E@<A4G87&?4<AG<99 &? SFAGE ) N  

        #BE8BI8EG;8JBE>;BHEF9BE&?4<AG<99SF?847<AI8FG<:4GBE"4-4A74FE84?-<??<4@FJ8E8

6HGHA78EBH7E84HSF47@<A<FGE4G<BA9EB@G;E8874LFGBBA874LC8EJ88>6B@C4E87GB9BE@8E

&E8F<78AG"<F4B<6BSF47@<A<FGE4G<BA  #$1/(2$&?4<AG<99E8DH8FG<A:477<G<BA4?E8FBHE68F9B??BJ<A:

%(SF9<A7<A:F &? SFAGE ) NN           *;8=HFG<9<64G<BA9BE&?4<AG<99SFE8DH8FGJ8E8B5I<BHF

8I8A ;8E FH668FFBE ABG87 ;BJ F;8 P6BH?7 ABG 94G;B@ ;BJ 1&?4<AG<99SF2 B99<68 6BH?7 9HA6G<BA

J<G;BHG4A71F<62<AI8FG<:4GBEJBE><A:4G?84FG74LFC8EJ88> Q&? SFAGE ) NN            

     7-$! .$$)+%1!!513)2 '!)-12  !-$ .3$0%!3

        %A868@58E         &EB98FFBEB779<?874?4JFH<GPG;8 .##6G<BAQJ;<6;E8FG4G87

G;8;<FGBELB9B77SFE8DH8FGF9BE466B@@B74G<BAF;8E4CC84?F;8E4??8:4G<BAF4:4<AFG898A74AG

BH7E84H <A 6BA=HA6G<BA J<G; B77SF E8DH8FGF 6B@C?4<AGF 4A7 4CC84?F FC86<9<64??L <A6?H7<A:

&?4<AG<99 4CG<FG8SF 9<A7<A:F 4:4<AFG BH7E84H ABG<A: G;4G P4CG<FG8 E86B@@8A787     G;4G

BH7E84H58:<I8A4R?8GG8EB97<F6<C?<A8 SQ&? SFAGE ) N %A#4E6;       &EB98FFBEB77

9<?87 4A @8A787 B@C?4<AG <A G;8 .## 6G<BA J;<6; <A6?H787 477<G<BA4? 6B@C?4<AGF B77

7<F6HFF87J<G;4CG<FG84:4<AFGBH7E84H4A7<A6?H7874?8GG8EB9E86B@@8A74G<BA<AFHCCBEGB9




                                                   
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B77 G;4G E898EE87 GB 898A74AGFS 786<F<BA GB 78AL ;8E G8AHE8 4F 4 P@4A<98FG <A=HFG<68 Q &? SF

AGE )  N   %A CE<?         @8E8?L GJB J88>F 589BE8 898A74AG BH7E84H G8E@<A4G87

&?4<AG<99SF8@C?BL@8AG  4A<A<G<4?6BA98E8A68J4F;8?7<AG;8 .##6G<BA &? SFAGE ) N 

        864HF8 B9 G;8 .## 6G<BASF 9<?<A: &?4<AG<99 J4F 9BE687 GB 7<F6BAG<AH8 4A <AG8EA4?

<AI8FG<:4G<BA<AGB4??8:4G<BAFB77;47E4<F874:4<AFG&EB98FFBE,<I<8A*4EGG8E6BAF<FG8AGJ<G;G;8

FG4A74E7CE46G<684GG;8+A<I8EF<GLJ;<6;J4F6B@@HA<64G87GB&?4<AG<99G;EBH:;BHG;8EG8AHE8 

&? SFAGE ) NN       

     302)1 )!1  +!)-2)&&:1     $4.#!#7 !-$ //.1)2).- 2. %2!+)!2).- %!$ 2. (%0
        %0,)-!2).-

        &?4<AG<99 4?FB 47IB64G87 BA 58;4?9 B9 HEG<F (<4F 4 ?BA: G8E@ +$/ 8@C?BL88 J;B

6B@C?4<A8745BHG7<F6E<@<A4G<BA4A7E8G4?<4G<BA4:4<AFG;<@7H8GB;<FE4688G;A<6<GL7<F45<?<GL

4A7F8KH4?BE<8AG4G<BA &? SFAGE ) NN           G?84FG4F84E?L4F%6GB58E        #E (<4F

FBH:;G&?4<AG<99SF4FF<FG4A68GB9<?84E8DH8FGGB466B@@B74G8;<F7<F45<?<GL49G8E;88KC8E<8A687

E8G4?<4G<BA9BE9<?<A:4A8KG8EA4?6B@C?4<AGJ<G;G;8% &? SFAGE ) N           +$/SFH@4A

(8FBHE68F8C4EG@8AG78A<87#E (<4FSF466B@@B74G<BAE8DH8FG<A 4AH4EL                  &? SFAGE ) N

 -;8A#E (<4F4CC84?87G;4G78A<4?GB&?4<AG<99&?4<AG<99J4FCE8C4E87GB:E4AG;<FE8DH8FG 

&? SFAGE ) N 89BE8:8GG<A:G;86;4A68GB7BFB;BJ8I8E4CCEBK<@4G8?LGJBJ88>F589BE8

;8E G8E@<A4G<BA &?4<AG<99 @8G J<G; F8I8E4? <A7<I<7H4?F 7HE<A: 4 @88G<A: BE:4A<M87 5L "8BA4E7

0<A8GG< )8A<BE ,<68 &E8F<78AG B9 G;8 %99<68 B9 46<?<G<8F 4A7 4GG8A787 5L 898A74AG BH7E84H

PG;80<A8GG<#88G<A:Q &? SFAGE ) NN       

        %G;8EG;4A&?4<AG<99;8EF8?94??4GG8A788F4GG;80<A8GG<#88G<A:  (-"+3#(-& .3#0$ 3  

I<8J87PHEG<F   4F4GEBH5?8@4>8EQ49G8E;8P9<?874A8KG8EA4?6B@C?4<AG Q&? SFAGE ) N  

&?4<AG<99B5F8EI87;BJBH7E84H;<@F8?9J4FPBHGE4:8172G;4G   HEG<F;479<?874A8KG8EA4?

6B@C?4<AGQ4A7G;4G4F4E8FH?GBH7E84H4A7G;8E8FGB9G;84GG8A788F8KCE8FF87G;8<E78F<E8GB


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FG4EG 6BA7H6G<A: C8E9BE@4A68 8I4?H4G<BAF B9 HEG<F (<4F <A 4A 4GG8@CG GB P@4>8 ;<@

HA6B@9BEG45?8Q5864HF8BH7E84H4A7BG;8E4GG8A788F8KCE8FF87G;8<E58?<89G;4G#E (<4FPJ4F

ABGE84??L7<F45?87 8J4F=HFG9<?<A:G;8F86B@C?4<AGF4A7G;4GJ8F;BH?7ASGG4>8<GF8E<BHF?L Q

&? SF AGE )  NN      #E  (<4F ;47 A8I8E E868<I87 4 F<A:?8 C8E9BE@4A68 8I4?H4G<BA <A ;<F

GJ8AGLL84EF4F4+$/8@C?BL88 &? SFAGE ) N  F4E8FH?G&?4<AG<996B@C?4<A87B5=86G87

7HE<A:G;80<A8GG<@88G<A:G;4G6B@@8A6<A:C8E9BE@4A688I4?H4G<BAFB9HEG<F(<4FABJO9BEG;8

9<EFGG<@849G8E;<F6B@C?4<AGFOJBH?758I<8J874FE8G4?<4G<BA &? SFAGE ) N  &?4<AG<99PJ4F

G;8BA?LC8EFBAQJ;BJ4FGEL<A:GB7<FFH478BH7E84H4A7G;8:EBHCB94GG8A788F9EB@G;8ABG<BA

G;4G+$/PF;BH?7FG4EG8I4?H4G<A:4A8@C?BL88J;B;47A8I8E588A8I4?H4G87589BE8   <A?<:;G

B9;<F8KG8EA4?6B@C?4<AG15864HF82G;8G<@<A:B9<G?BB>F?<>8E8G4?<4G<BA &? SFAGE ) N  

     %&%-$!-21:()&2)-'312)&)#!2).-1&.0+!)-2)&&:1%0,)-!2).-

        CCEBK<@4G8?L GJB J88>F 49G8E 5BG; G;8 <A<G<4? 6BA98E8A68 <A G;8 .## 6G<BA 4A7 G;8

0<A8GG< #88G<A: BH7E84H G8E@<A4G87 &?4<AG<99SF 8@C?BL@8AG  &? SF AGE )  N   -;8A

G8E@<A4G<A:&?4<AG<99BH7E84H7<7ABG:<I8;8E4ALFC86<9<6=HFG<9<64G<BA9BE;<F786<F<BA &? SF

AGE ) N  HE<A:&?4<AG<99SF8@C?BL@8AG898A74AGBH7E84HA8I8E7<F6<C?<A87&?4<AG<99

:4I8;8E4ALC8E9BE@4A688I4?H4G<BAF<A9BE@87;8EG;4G;8J4FP7<FC?84F87J<G;;8EJBE>QBE

BG;8EJ<F8:4I84AL<A7<64G<BAG;4G;8J<F;87GBPE89BE@Q4ALB9;8EJBE>BE;45<GF &? SFAGE ) 

NN       

        *;8F4@874L;8G8E@<A4G87&?4<AG<99SF8@C?BL@8AGBH7E84H4AABHA6877HE<A:4+$/

&EB98FF<BA4?)G499BA:E8FFP&)Q"45BE #4A4:8@8AGHA<BA@88G<A:G;4GPG;8E8FBHE68FB9G;8

%99<68B999<E@4G<I86G<BAB@C?<4A684A7<I8EF<GLQ  < 8 &?4<AG<99SFB99<68  P;4I8588A

6HGQJ<G;&)ABG<A:<A<GF@<AHG8FG;4G4F4E8FH?GP1G2B74L1BH7E84H2;4F9<E87G;87<E86GBEQ

J;<6;J4F&?4A<G<99 &? SFAGE ) N   HFGBI8EGJBJ88>F?4G8EBA#4L             898A74AG




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BH7E84H 6<E6H?4G87 4A 8@4<? GB +$/ 946H?GL 4AABHA6<A: G;4G ;8 G8E@<A4G87 &?4<AG<99SF

8@C?BL@8AG5864HF8B9;<F786<F<BAGB89986GH4G84P6;4A:8<A?8478EF;<CQ@4><A:AB@8AG<BAB9

4ALC8E9BE@4A68<FFH8F4A7G;4A><A:&?4<AG<999BE;8EF8EI<68P9BEG;8C4FGF8I8E4?L84EF Q&? SF

AGE ) N  *;4GI8ELF4@874L4A76BAGE47<6G<A:BH7E84HSFFG4G8@8AGGBG;8&)GJBJ88>F

84E?<8E BH7E84H :4I8 4             E4<F8 GB 8AA<98E "<:;G J;B J4F 4?E847L JBE><A: 9BE

BH7E84H 4G <GL B??8:8  &? SF AGE )  N   BH7E84H 4?FB 4:E887 GB ;<E8 4A 477<G<BA4?

<AI8FG<:4GBE4G#F "<:;GSFE8DH8FG<4A4HBMMB4A74668CG87#F "<:;GSFE86B@@8A74G<BAGB

<A6E84F8G;85H7:8G87;BHEF9BEG;88K<FG<A:<AI8FG<:4GBE"4-4A74FE84?-<??<4@F9EB@BA874L

GB G;E88 74LF C8E J88>  &? SF AGE )  NN           G J4F ABG HAG<? 49G8E &?4<AG<99 9<?87 ;8E

7<F6E<@<A4G<BA6B@C?4<AG4:4<AFG898A74AGF<AG;8$8J/BE>)G4G8<I<F<BAB9H@4A(<:;GF

G;4G898A74AGF  9BEG;8I8EL9<EFGG<@8  6;4A:87G;8<ECBF<G<BAABJ6?4<@<A:G;4GG;8786<F<BA

GBG8E@<A4G8&?4<AG<99SF8@C?BL@8AGJ4F7H8GB;8EC8E9BE@4A68 &? SFAGE ) N  

                                                  

        )H@@4EL=H7:@8AG<FBA?L4CCEBCE<4G8J;8AG;8E86BE7F;BJFPG;8E8<FAB:8AH<A87<FCHG8

4FGB4AL@4G8E<4?946G4A7G;8@BI4AG<F8AG<G?87GB=H7:@8AG4F4@4GG8EB9?4J Q87 ( <I & 

4$0- -#$84 (27.%$5.0*         -"  4G)  $ / H:                  $+.2$6

 .0/4   20$22+ )     A786<7<A:4FH@@4EL=H7:@8AG@BG<BAPG;87<FGE<6G

6BHEG<FABGGBJ8<:;G;88I<78A685HG<F<AFG847E8DH<E87GBI<8JG;88I<78A68<AG;8?<:;G@BFG

94IBE45?8GBG;8C4EGLBCCBF<A:FH@@4EL=H7:@8AGGB7E4J4??E84FBA45?8<A98E8A68F<A94IBEB9

G;4GC4EGL4A7GB8F6;8J6E87<5<?<GL4FF8FF@8AGF Q$7 -24*12               7 7<E 

 P12??7BH5GF4FGBG;88K<FG8A68B94:8AH<A8<FFH89BEGE<4?F;BH?758E8FB?I874:4<AFGG;8

@BI<A:C4EGL Q 0 #74.5-.% .+"'$12$0 7                   7<E   *;8ABA@BI<A:

C4EGLA887BA?LCE8F8AGP8I<78A68FHCCBEG<A:G;86?4<@87946GH4?7<FCHG858F;BJAGBE8DH<E84




                                                      
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=HELBE=H7:8GBE8FB?I8G;8C4EG<8FS7<998E<A:I8EF<BAFB9G;8GEHG;4GGE<4? Q(012 2;+        -*.% 0(8

4 (2($1 $04 .   + )         )H@@4EL =H7:@8AG <F <A4CCEBCE<4G8 J;8E8

PE8I<8JB9G;8E86BE7E8I84?FFH99<6<8AG8I<78A689BE4E4G<BA4?GE<8EB9946GGB9<A7<AG;81ABA

@BI4AGF294IBE Q0$&+( 4.5-.% -+(31  7   7<E             6<G4G<BAB@<GG87 

                                               

               
         :     

        898A74AGF 4E:H8 G;4G &?4<AG<99SF E8G4?<4G<BA 6?4<@ HA78E G;8 (8;45<?<G4G<BA 6G 94<?F

5864HF8F;864AABG8FG45?<F;64HF4G<BA<A;8E/0(, % "($64F8E8?4G<A:GB&EB98FFBEB77 >G $B 

89F S#8@ 4G  A7G;4G8I8A<9&?4<AG<9964A8FG45?<F;;8E/0(, % "($64F8&?4<AG<9964AABG

F;BJG;4G898A74AGFSCEB998E87E84FBA9BE;8EG8E@<A4G<BAJ4FCE8G8KG J;8G;8E54F87&?4<AG<99SF

6?4<@FE8?4G<A:GB&EB98FFBEB77BEHG<F(<4F >G $B 89F S#8@ 4G                         *;8

E86BE78I<78A68E8I84?FG;4G898A74AGF4E8@<FG4>8AG;8<E@BG<BAF;BH?75878A<87 

        <EFGE8:4E7<A:&?4<AG<99SFG;8BEL4FGB&EB98FFBEB77898A74AGF<:ABE86E<G<64??<A>F<A

G;8 6;4<A ?847<A: HC GB &?4<AG<99SF G8E@<A4G<BA  )86BA7 898A74AGF @<FE8CE8F8AG G;8 E86BE7

8I<78A68 4A7 4F> G;<F BHEG GB 7<FE8:4E7 ;BJ 898A74AGFS F;<9G<A: =HFG<9<64G<BA 9BE &?4<AG<99SF

G8E@<A4G<BA6BHC?87J<G;898A74AGBH7E84HSF78C4EGHE8F9EB@;<F4A7G;8+A<I8EF<GLSF9BE@4?

CE46G<68F4A7CB?<6<8F7HE<A:&?4<AG<99SF8@C?BL@8AGBA?LGBF;<9G:84EF4A747;8E8GBG;8@49G8E

G8E@<A4G<A:&?4<AG<996BH?7?8474=HELGB6BA6?H78898A74AGFE8G4?<4G87 

              +!)-2)&&(%.07 %+!2)-' 2. 7-$! .$$ !2)1&)%1 %0 8 9 
                  30$%-.- !31!2).-

        &?4<AG<99SF" .--$++ .3&+ 15HE78AGB8FG45?<F;;8E/0(, % "($64F8<FP#$,(-(,(1 Q

 &(+(&( -4" '-"'.%$# 2.3-2(- (  )HCC 7  )  $ /                        

6<G<A:(.14 $/;2.% #3" 87 CCSK   7<E             (8?8I4AGGBG;<F@BG<BA



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&?4<AG<9964A8FG45?<F;464HF4?6BAA86G<BA58GJ88A;8ECEBG86G8746G<I<GL4A7898A74AGFS47I8EF8

8@C?BL@8AG 46G<BA $(2'$0 P  <A7<E86G?L 5L F;BJ<A: G;4G G;8 CEBG86G87 46G<I<GL J4F 9B??BJ87

6?BF8?L5L7<F6E<@<A4GBELGE84G@8AGBEG;EBH:;BG;8E6<E6H@FG4AG<4?8I<78A68FH6;4F7<FC4E4G8

GE84G@8AGB998??BJ8@C?BL88FJ;B8A:4:87<AF<@<?4E6BA7H6GBE 7<E86G?LG;EBH:;8I<78A68

B9E8G4?<4GBEL4A<@HF7<E86G874:4<AFGG;8C?4<AG<995LG;87898A74AG Q $(&3$0. 42 2$

2 2$-(4           + ) <FG ".)     4G        $ / )8C        6<G<A: 2.%1*74

    (27.%$5.0*       7 7 <E        

         *;8 )86BA7 <E6H<G P;4F 94FG<7<BHF?L 4IB<787 7E4J<A: 4 R5E<:;G?<A8S 789<A<A: G;8 BHG8E

?<@<GF R58LBA7 J;<6; 4 G8@CBE4? E8?4G<BAF;<C <F GBB 4GG8AH4G87 GB 8FG45?<F; 164HF4G<BA2 SQ $

(&3$0.         + ) <FG ".)        4G       DHBG<A: 7$14     '+*$ 7  

 7<E         HG6BHEGF6BAF<FG8AG?L9<A7G;4GP9BHE@BAG;FQ58GJ88A4CEBG86G8746G<I<GL4A7

4A47I8EF88@C?BL@8AG46G<BAP<FFH99<6<8AGGBFHCCBEG4A4??8:4G<BAB9464HF4?6BAA86G<BAFGEBA:

8ABH:;GBFHEI<I84FH@@4EL=H7:@8AG@BG<BA Q $(&3$0.                     + ) <FG ".)      4G

     6<G<A:.0, -       *.14 .0-$++ ../ 62$-1(.-.%"'$-$"2 #7 -27   7

 7<E         

                            $ %  # (      (
                            "     ! 

         898A74AGFS 5E<89 E8?<8F BA 4 6?4<@87 ?46> B9 7<E86G 8I<78A68 B9 E8G4?<4G<BA ABG<A: ;BJ

P&?4<AG<996BH?7E864??BA?LBA86BAI8EF4G<BAJ<G;BH7E84H45BHG;8E9<A7<A:F<AG;8"LA74B77

@4GG8E Q>G $B 89F S#8@ 4G  HG:B<A:4FG8CGBB94E898A74AGF8EEBA8BHF?L4E:H8

;BJP1G2;8?8A:G;L:4C58GJ88ACEBG86G8746G<I<GL<A               4A747I8EF846G<BA<A    78984GF

4ALF;BJ<A:B9G8@CBE4?CEBK<@<GL Q>G $B 89F S#8@ 4G  AFB7B<A:898A74AGF

<:ABE8G;89?HEELB946G<I<GL<A&EB98FFBEB77SF?4JFH<G589BE8&?4<AG<99SFE8G4?<4GBELG8E@<A4G<BA 




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         )C86<9<64??L CE<BE GB &EB98FFBE B77SF 9878E4? 46G<BA 898A74AG BH7E84H @8G J<G;

&?4<AG<999EB@G<@8GBG<@8HCHAG<?868@58E                  4FC4EGB9;8EABE@4?=B57HG<8F &? SFAGE ) 

NN            *;<A:F6;4A:87;BJ8I8E49G8E&EB98FFBEB779<?874?4JFH<GBA868@58E                               

<A G;8 + )  <FGE<6G BHEG 9BE G;8 )BHG;8EA <FGE<6G B9 $8J /BE> 4:4<AFG G;8 F4@8 898A74AGF

;8E8<A4FJ8??4FBG;8EA4@87<A7<I<7H4?7898A74AGFG;8P .##6G<BAQ &? SFAGE ) NN

 #B7<9L<A:G;8474:8PE8I8A:8<F47<F;58FGF8EI876B?7QG;8 .##6G<BAPE8;84G87QG;8

4A<@HF 64HF87 J;8A &?4<AG<99 CE8I<BHF?L 9BHA7 BH7E84H E8G4?<4G87 4:4<AFG B77 8A9?4@<A:

BH7E84HSF E8G4?<4GBEL 4A<@HF GBJ4E7F &?4<AG<99 ;8EF8?9  A7887 G;8 .## 6G<BA E8BC8A87 B?7

JBHA7F 5L E8FG4G<A: G;8 ;<FGBEL B9 B77SF 4??8:4G<BAF 4:4<AFG 898A74AG BH7E84H 4A7 5L

FC86<9<64??L<A6?H7<A:&?4<AG<99SF9<A7<A:F & (-12BH7E84HC?HF477<G<BA4?8K4@C?8FB9&?4<AG<99SF

BA:B<A:47IB646LBA58;4?9B9&EB98FFBEB77 &? SFAGE ) NN  

         FG;8)86BA7<E6H<G;4FB5F8EI87J;8A6BAF<78E<A:G;8G8@CBE4?CEBK<@<GLP6?B6>Q4

7<FGE<6G6BHEGF;BH?7ABG?<@<G<GF8?9<A6BAF<78E<A:G;8PGLC8B98I8AGG;4G@<:;GCEB@CG46G<BA45?8

E8G4?<4G<BAQABG<A:G;4G;BJ4C?4<AG<9964A8FG45?<F;4/0(, % "($64F8J;8E846G<BAFB66HEE87

F;BEG?L49G8ECEB6887<A:F<A4?<G<:4G87@4GG8E $$"94 (27.%                     + ) CC ".) 

4G 7<E #4E              6<G<A:("' 0#1.-42 2$ $/;2.% .00$04   7 

  7 <E    *B G;4G 8A7 G;8 )86BA7 <E6H<G ;4F 4?FB ;8?7 G;4G <@C?8@8AG<A: A8:4G<I8

6;4A:8FGB4C?4<AG<99SFJBE>F6;87H?8<F<A4A7B9<GF8?94A47I8EF88@C?BL@8AG46G<BAFH99<6<8AG

GBFHCCBEG4E8G4?<4G<BA6?4<@ $$.&$+4               -"  CCSK  7<E                 9<A7<A:




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 )& 0524 ."8 4",& +5%*$*"- /04*$& 0' 12*02 -*4*("4*0/ */60-6*/( 4)& &'&/%"/43 "#  &  #$" #
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&7$&2143'20.4)& $4*0/:3$0.1-"*/4340&34"#-*3)4)&'"$4"/%4*.*/(0'4)&-*4*("4*0/ #!"##  &
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6;4A:8FGBJBE>F6;87H?8P;4E@9H?GBG;8CB<AGG;4G<G6BH?7J8??7<FFH4784E84FBA45?8JBE>8E

9EB@6BAG<AH<A:GB6B@C?4<A Q 

        *;4G <F CE86<F8?L G;8 <@C46G G;4G G;8 .## 6G<BA ;47 BA 898A74AGF  9G8E <GF 9<?<A:

BH7E84H 9BE@4??L @8G 7<E86G?L J<G; &?4<AG<99 %    BA 4AH4EL             &? SF

AGE )  N     #BE8BI8E 898A74AGF J8E8 E8@<A787 F8I8E4? 477<G<BA4? G<@8F %2$0 G;8 .##

6G<BASF<A<G<4?9<?<A:B9&?4<AG<99SFBA:B<A:47IB646L<AFHCCBEGB9B77  HCHAG<?4@8E8GJB

J88>F589BE8&?4<AG<99SFG8E@<A4G<BA &? SFAGE ) N *;<F<F6BAF<FG8AGJ<G;&?4<AG<99SFG;8BEL

4A7G;84??8:4G<BAF<A;8E@8A787B@C?4<AGG;4GG;8 .##6G<BAE8BC8A87B?7JBHA7F9EB@

BH7E84HSFC8EFC86G<I874G<A:546>GB&?4<AG<99SFBE<:<A4?47IB646LBA58;4?9B9&EB98FFBEB77

4A7GE<::8E<A:;<F78F<E8GBG8E@<A4G8&?4<AG<99SF8@C?BL@8AGBA684A79BE4?? 

        898A74AGFS@BG<BAE8?<8F8K6?HF<I8?LBA&?4<AG<99SF         9<A7<A:F<A4E:H<A:4:4<AFG;8E

/0(,  % "($ 64F8  HG G;8 6?BF8 G8@CBE4? CEBK<@<GL 58GJ88A G;8 .## 6G<BA 4A7 898A74AGFS

47I8EF846G<BAF4:4<AFG&?4<AG<9964HF87A8:4G<I86;4A:8FGB&?4<AG<99SFF6;87H?85LE8@BI<A:;8E

@88G<A:F J<G; 898A74AG BH7E84H 4A7 FBBA G;8E849G8E G8E@<A4G<A: ;8E 8@C?BL@8AG  *;8F8

@4G8E<4??L47I8EF846G<BAFF4G<F9L&?4<AG<99SF/0(, % "($5HE78ABA64HF4G<BA 66BE7<A:?LG;8

BHEGF;BH?7E8=86G898A74AGFS4E:H@8AG4A7CEB6887GB" .--$++ .3&+ 1SFA8KGC;4F8 

                %&%-$!-21:0.&&%0%$%!1.-1&.0+!)-2)&&:1%0,)-!2).- 0%0%2%62

        +A78EFG4A7<A:G;4G&?4<AG<99SF/0(, % "($64F8<F84F<?L8FG45?<F;87898A74AGFA8KG4E:H8

G;4G &?4<AG<99 64AABG E85HG 898A74AGFS CEB998E87 =HFG<9<64G<BA 9BE G8E@<A4G<A: &?4<AG<99SF

8@C?BL@8AG6?4<@<A:G;4GPG;88I<78A68BI8EJ;8?@<A:?LF;BJFG;4G&?4<AG<99J4FG8E@<A4G879BE

CBBEC8E9BE@4A68 Q>G $B 89F S#8@ 4G          *BG;4G8A7898A74AGFC?4686BAF<78E45?8

J8<:;GBAG;8+A<G87)G4G8F8C4EG@8AGB97H64G<BASF%99<68B9<I<?(<:;GFP%(Q9<A7<A:F

74G8785EH4EL       4A7%6GB58E       4FJ8??4FFH5F8DH8AG8I8AGFE8:4E7<A:&EB98FFBE




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B77SF6B@C?4<AG4:4<AFG,<I<8A*4EGG8E # 898A74AGF8I8A4E:H8G;4G5864HF8BH7E84H6BH?7

;4I8 9<E87 &?4<AG<99 J;8A ;8 5864@8 &E8F<78AG 5HG 7<7 ABG 7B FB 4G G;8 G<@8 G;<F HA78E6HGF

&?4<AG<99SF B77 G;8BEL  # 4G   HG 898A74AGF BI8EFG4G8 G;8 F<:A<9<64A68 B9 G;8<E FB 64??87

P8I<78A68Q 4A7 <@CEBI<78AG?L <:ABE8 G;8 E86BE7 8I<78A68 6BAGE47<6G<A: G;8<E CEB998E87

=HFG<9<64G<BA 

         )C86<9<64??L 898A74AGFS BJA 47@<FF<BAF G;4G BH7E84H 78I<4G87 9EB@ 5BG; ;<F BJA

FG4A74E7 CE46G<68F 4A7 9BE@4? +A<I8EF<GL CB?<6L 7HE<A: &?4<AG<99SF 8@C?BL@8AG  8 A8I8E

477E8FF87 4AL B9 &?4<AG<99SF FB 64??87 PCBBE C8E9BE@4A68Q <FFH8F 589BE8 ;8E G8E@<A4G<BA  *;8F8

946GF 6BHC?87 J<G; 898A74AGFS F;<9G<A: 4A7 FJ<9G E8I8EF4? B9 G;8<E E84? G<@8 E4G<BA4?8 9BE

&?4<AG<99SFG8E@<A4G<BACEBI<78@BE8G;4A8ABH:;8I<78A689BE4E84FBA45?8=HELGB6BA6?H78G;4G

 E8:4E7?8FFB9J;8G;8E898A74AGFSPC8E9BE@4A68 54F87=HFG<9<64G<BA   <F466HE4G8BE94<EQ

&?4<AG<99SF 8I<78A68 F;BJF PG;4G <G J4F ABG G;8 46GH4? =HFG<9<64G<BAQ 9BE BH7E84HSF 786<F<BA GB

G8E@<A4G8;8E8@C?BL@8AG #4G 6<G<A:(++$04 2;+ 11;-.%$" $ +$01-"  )HCC 

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         FG;8)86BA7<E6H<G;4F;8?74A8@C?BL8ESFI<8JB94A8@C?BL88SFC8E9BE@4A68P4A7

ABGG;8466HE46LB9G;4GI<8J<FG;8CEBC8E9B6HFB9G;8CE8G8KGQ<ADH<EL ..-$5 0#$- 4

2 2$.0*$01; .,/ # CCSK  7<E                 *BG;4G8A78I8A<94C?4<AG<99

PGEH?L;47C8E9BE@4A68<FFH8FQ4&?4<AG<99SFCEBG86G8746G<I<GL6BH?758G;8P5HG 9BE64HF8B9;8E

9<E<A:5864HF81G;86BA7H6G2<FG;8E84FBA898A74AGFGBB>ABG<684A7HF87G;BF81C8E9BE@4A682

<FFH8F4:4<AFG;8E Q #$+, -4 -&.-$$ +2'71                 -"           + ) <FG 

".)  4G )  $ / )8C                   6<G<A: 3/+ -4 (27.%$5.0* 7

       7<E     B5F8EI<A:G;4G5864HF8P898A74AGF4CC4E8AG?L7<7ABG6B@C<?8?<FGFB9


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;8E94H?GF589BE8&?4<AG<996B@C?4<A87B97<F6E<@<A4G<BAQ6BH?76BAI<A684=HELG;4G898A74AGFS

PE8G4?<4GBEL<AG8AGJ4F45HG 9BE64HF8B9&?4<AG<99SFG8E@<A4G<BA Q A7887<G<FJ8?? F8GG?87G;4G

P5HG 9BE 64HF4G<BA 7B8F ABG E8DH<E8 CEBB9 G;4G E8G4?<4G<BA J4F G;8 .-+7 64HF8 B9 G;8 8@C?BL8ESF

46G<BA5HGBA?LG;4GG;847I8EF846G<BAJBH?7ABG;4I8B66HEE87(-2'$ !1$-"$.%2'$0$2 +( 2.07

,.2(4$ Q5 -4 -# +$60/  7 7<E               8@C;4F<F47787 

        8E8898A74AGF@<FE8CE8F8AGG;4G&?4<AG<99SF4??8:87PCBBEC8E9BE@4A68QJ4FG;846GH4?

PI<8JQ BE =HFG<9<64G<BA E8?<87 HCBA 4G G;8 G<@8 BH7E84H G8E@<A4G87 ;8E 8@C?BL@8AG CB<AG<A:

FC86<9<64??LGBG;8%(SFGJB9<A7<A:F4A7FH::8FG<A:G;4G&?4<AG<99A8:?86G87GB9B??BJHCJ;8A

&EB98FFBEB779<?874A<AG8EA4?6B@C?4<AG4:4<AFG&EB98FFBE*4EGG8E >G $B 89F S#8@ 4G

    HG=HFG?<>8<A #$+, -         -"           + ) <FG ".)  4G 

G;8E8 <F AB 8I<78A68 G;4G 898A74AGF 8I8E GBB> <FFH8 J<G; &?4<AG<99SF C8E9BE@4A68 #30(-& ;8E

8@C?BL@8AG  *;<F 78498A<A: F<?8A68 78@BAFGE4G8F FGEBA: 8I<78A68 G;8 898A74AGFS CEB998E87

=HFG<9<64G<BA<FCE8G8KG 

        BH7E84H47@<GFG;4G;8A8I8E477E8FF874ALB9G;8F84CC4E8AG789<6<8A6<8FJ<G;&?4<AG<99

J;<?8 F;8 J4F 8@C?BL87  &? SF AGE )  NN             F BA8 6BHEG ;4F 8KC?4<A87 4 7898A74AGSF

46G<BA B9 P78I<4G1<A:2 9EB@ <GF FG4A74E7 CE46G<68Q E8:4E7<A: CEBI<7<A: 8@C?BL88 9887546> 64A

4@BHAGGBP4G8KG5BB>64F89BEG;8=HELGB786<78 Q$$ '$-40(3,/' -&(-$ .-20.+71              

+ ) <FG ".) 4G  BAA #4E                 6<G<A:3!(-4            

+ ) <FG ".)           -"4G BAA )8CG              (%0 -"4 

  $/;2.% #3"       + ) <FG ".)       4G   $ / CE           B5F8EI<A:;BJ

P78I<4G<BAF9EB@FG4A74E7CE46G<68Q @4L E4<F8 DH8FG<BAF B9 :BB7 94<G; 4A7 FHCCBEG 4A <A98E8A68

B9CE8G8KGQ BH7E84H;<@F8?947@<GG877HE<A:;<F78CBF<G<BAG;4G;878I<4G879EB@;<FFG4A74E7

CE46G<68<A@4A4:<A:4P6B@C?8KBE:4A<M4G<BAQJ;8E8<AG;8ABE@4?6BHEF8;88I4?H4G8F;<FFG499




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<9;858?<8I8FG;8L4E8HA78EC8E9BE@<A:5HGG;4G;8PA8I8E8I4?H4G87Q&?4<AG<994G4?? &? SFAGE ) 

NN   *BG;4G8A7BH7E84HSF47@<FF<BAG;4G;8A8I8E<FFH874ALC8E9BE@4A68E8I<8JFBE

C8E9BE@4A68 E8?4G87J4EA<A:FGB&?4<AG<9978FC<G8898A74AGFS6?4<@F#30(-&?<G<:4G<BA45BHG;8E

4??8:87CBBEC8E9BE@4A68E8CE8F8AGF6?84ECE8G8KG *;<F6BH?784F<?L?8474=HELGB78G8E@<A8G;4G

898A74AGFSGEH8@BG<I4G<BA9BEG8E@<A4G<A:&?4<AG<99J4FE8G4?<4G<BA  #$+, -        -" 

     + ) <FG ".)  4G 1$$ +1.0(.04+ 11 ,(#5$12             + ) 

<FG  ".)  4G     BAA  H:          ABG<A: 454A7BA@8AG B9 PCEB687HE4?

E8:H?4E<GLQJ<G;BHG54F<FBEABG<68<F8I<78A68B9CE8G8KG 

       77<G<BA4??L 898A74AGFS FH::8FGF E8:4E7<A: BH7E84HSF 786<F<BA -.2 GB 9<E8 &?4<AG<99

J;8A ;8 9<EFG 5864@8 &E8F<78AG <F CHE8 FBC;<FGEL  898A74AGF 6BH?7 ABG ;4I8 E84?<FG<64??L

G8E@<A4G87&?4<AG<99J;8ABH7E84H5864@8&E8F<78AG4F;8E8?<87HCBA;8EGB6B@C?8G8477<G<BA4?

9B??BJ HCJBE>49G8E%(<FFH87<GF9<EFG9<A7<A:F4A7;88I8A &0$$#J<G;&?4<AG<99SF4CCEB46;

4GG;8G<@8 &? SFAGE ) NN   #BE8BI8E<9898A74AGG8E@<A4G87&?4<AG<99J;8A;89<EFG

5864@8&E8F<78AGG;4GJBH?7;4I86?84E?L78@BAFGE4G87;<FE8G4?<4GBEL4A<@HF AFG847BH7E84H

FLFG8@4G<64??LHA78E@<A87&?4<AG<99SF=B5GB?4G8EC4<AG;8E4F4CBBEC8E9BE@8E BH7E84H47@<GG87

G;4G;<FBA?L@84AFB9E8I<8J<A:&?4<AG<99SFJBE>J4F7HE<A:;<F@BAG;?L@88G<A:F&? SFAGE ) 

N J;<6;;87<F6BAG<AH874G?84FG4F84E?L4F HA8    &? SFAGE ) N  *;4G;86B@C?8G8?L

FGBCC87@88G<A:J<G;&?4<AG<9949G8EG;8 .##6G<BAJ4F6B@@8A687&? SFAGE ) NN           

9HEG;8E78@BAFGE4G8F;<FE8G4?<4GBEL4A<@HFGBJ4E7&?4<AG<99CEBI<A:;BJ;<F94<?HE8GB<78AG<9L

4ALC8E9BE@4A68<FFH8F#30(-&C?4<AG<99SF8@C?BL@8AGE8A78EF898A74AGFSABJ6BAI8A<8AG/.12

'."8KC?4A4G<BA<@C?4HF<5?8 B<A:8I8A9HEG;8E&?4<AG<99G8FG<9<8745BHG;BJBH7E84H4:E887

J<G;+ (-2(%%;14FF8FF@8AGB9G;8<EFG%(AI8FG<:4G<BASF9<A7<A:F<A      &? SFAGE ) N 

J;<6;7<E86G?L6BAGE47<6GF898A74AGFSCBF<G<BA<A?<G<:4G<BA  FGEBA:?L78@BAFGE4G<A:CE8G8KG 




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                          " " $ 

          #4><A:@4GG8EF8I8AJBEF8BH7E84H4?FB47@<GG87G;4G7HE<A:&?4<AG<99SF8@C?BL@8AG

;878I<4G87ABGBA?L9EB@;<F.5-CE46G<68F5HG4?FB9EB@2'$-(4$01(27;146GH4?CB?<6L9BEG;8

&E8F<78AGGB@BA<GBEG;8CEB:E8FFB9<I8EF<GL%99<68<AI8FG<:4G<BAFBA?LGB?4G8E #'$0$GBG;4G

CB?<6L %2$0;8G8E@<A4G87&?4<AG<99SF8@C?BL@8AG &? SFAGE ) NN   *;<F<FF<:A<9<64AG4F

4A8@C?BL8ESF78C4EGHE89EB@49BE@4?CB?<6L64A588I<78A68B9CE8G8KG $$$&0(.0              

+ ) <FG ".) 4G  6<G<A:.#0(&3$14 .-- .-2 (-$0 .0/                 + ) <FG 

".)            -"     4G BAA #4E           ABG<A:454A7BA@8AGB99BE@4?

CB?<6<8F PJ<G;BHG 54F<F BE ABG<68Q 6BH?7 F8EI8 4F 478DH4G8 CEBB9 B9 CE8G8KG  -;4G <F @BE8

898A74AGF!+ ,$#&?4<AG<999BE #'$0(-&GB?BA:FG4A7<A:CB?<6<8F4A7CE46G<68FG;4GE8DH<E87;8E

GB7<F6BAG<AH8<AG8EA4?<AI8FG<:4G<BAFJ;8A46B@C?4<A4AGBEE8FCBA7<F4C?4<AG<99BE7898A74AG<A

4A$62$0- +CEB6887<A:J;<?8C8E@<GG<A:&?4<AG<99SF13""$11.0GB9B??BJG;4GCB?<6L &? SFAGE ) 

NN           *;<F 6BAGE47<6GF 4A7 FGEBA:?L HA78E@<A8F 898A74AGFS 4E:H@8AG G;4G &?4<AG<99SF

E8FCBAF8GBG;8B776B@C?4<AG4:4<AFG,<I<8A*4EGG8EJ4F<A4ALJ4L4AP477<G<BA4?C8E9BE@4A68

?4CF812 Q>G $B 89F S#8@ 4G  

          ,<8J<A:G;8946GF<AG;8?<:;G@BFG94IBE45?8GB&?4<AG<994E4G<BA4?=HEBE6BH?76BA6?H78

;BJCE8G8KG<F@4A<98FG54F87BAG;8IB?H@<ABHFE86BE78I<78A68 BH7E84H78C4EG879EB@G;8

+A<I8EF<GLSF 9BE@4? CB?<6L J;8A ;8 J4F @84AG GB 58 FHC8EI<F<A: &?4<AG<99  8 94<?87 GB 47I<F8

&?4<AG<99B94ALC8E9BE@4A68<FFH8F7HE<A:;8EG8AHE8J;<?846GH4??L &0$$(-&J<G;&?4<AG<99SFJBE>

4G G;8 G<@8  9G8E G8E@<A4G<A: &?4<AG<99 BH7E84H E8<AFG<GHG8 G;8 I8EL CB?<6L G;4G JBH?7 ;4I8

4FF<FG87&?4<AG<99J;8A4GG8@CG<A:GBC8E9BE@;8E=B5 *;4G898A74AGF4?FB!+ ,$&?4<AG<999BE

%.++.5(-&CEBC8ECEBGB6B?F9HEG;8EJ84>8AF898A74AGFS4E:H@8AG78@BAFGE4G<A:;BJE8G4?<4G<BA

J4F<A946GG;85HG 9BE64HF8B9898A74AGFS786<F<BAGBG8E@<A4G8&?4<AG<99SF8@C?BL@8AG 


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                      !!(   !      (  
                         #  (    %    (
                          

        &?4<AG<99 9HEG;8E 78@BAFGE4G8F CE8G8KG 5L CE8F8AG<A: 47@<FF<5?8 E86BE7 8I<78A68

8FG45?<F;<A:G;4G898A74AGF;4I8CEBI<7874G?84FGG;E88F8C4E4G86BAGE47<6GBEL8KC?4A4G<BAF9BE

G;8<E 786<F<BA GB G8E@<A4G8 &?4<AG<99SF 8@C?BL@8AG CE8F8AG<A: FGEBA: 8I<78A68 B9 CE8G8KG 5L

J84>8A<A: G;8 C?4HF<5<?<GL B9 4A7 7<E86G?L 6BAGE47<6G<A: 898A74AGFS PC8E9BE@4A68Q 54F87

CEB998E9BE;8EG8E@<A4G<BA  .##4 (27-(4.% )HCC                )  $ / 

     6<G<A:5 - 74 *;4G<F<@@87<4G8?L49G8E4A7<A7887BAG;8F4@874L4F;8E

G8E@<A4G<BA 898A74AG BH7E84H 8KCE8FF87 GB 4 @88G<A: B9 G;8 +$/ &EB98FF<BA4? )G499

BA:E8FFP&)QG;8?45BEHA<BAG;4GE8CE8F8AGF+$/946H?GL4A7FG499G;4G;8J4F9BE687GB

G8E@<A4G8&?4<AG<99SF8@C?BL@8AG7H8GB6HGFGBPG;8E8FBHE68FB9G;8%99<68B999<E@4G<I86G<BA

B@C?<4A684A7<I8EF<GL Q&? SFAGE ) N  

                         (     '$ -(.-;1,$$2(-&,(-32$1 0$ #,(11(!+$$4(#$-"$

        898A74AGF4F>G;<FBHEGGB<:ABE8G;<FFGEBA:8I<78A68B9CE8G8KG5L8EEBA8BHF?L6?4<@<A:

G;4GG;8&)SF@88G<A:@<AHG8F@8@BE<4?<M<A:BH7E84HSFFG4G8@8AG<FFB@8;BJP<A47@<FF<5?8

;84EF4L QHG898A74AGFS6BA6?HFBEL4E:H@8AG64A5884F<?L64FG4F<784FG;8@<AHG8FE8CE8F8AG

4C4E47<:@4G<68K4@C?8B9G;85HF<A8FFE86BE78K68CG<BAGB;84EF4LHA78E(H?8  A7887

898A74AGF G;8@F8?I8F J8E8 FB 6BA9<78AG <A G;8 I8E46<GL 4A7 466HE46L B9 G;8 &)SF @88G<A:

@<AHG8F4F4:8A8E4?@4GG8EG;4G+$/SF8A8E4?BHAF8?&4H?%66;<B:EBFFB8@C;4F<M87;<F

GEHFG<A&)SFBJA45<?<GLGB6E84G8G;8<E@<AHG8F786?<A<A:&)SFB998EGBE8I<8J4A7E8I<F8G;8

@<AHG8F4A78@C;4F<M<A:<AFG847G;4GPG;8&)F;BH?7589E88GB<FFH8<GFBJA@<AHG8F54F87BA

<GF HA78EFG4A7<A: B9 J;4G 1J4F2 7<F6HFF87 4G G;8 @88G<A:1F2 Q &? SF AGE )  N     898A74AGF

64AABGABJ7<F6?4<@G;86BA9<78A68+$/SFBJA8A8E4?BHAF8?  J;BF8CE<BE47@<FF<BA<A



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G;8E86BE746>ABJ?87:8G;8FH99<6<8A6LB9&)SFCEB687HE8F9BECE8C4E<A:4A7<FFH<A:<GF@88G<A:

@<AHG8F  8KCE8FF87G;8466HE46L4A7E8?<45<?<GLB9&)SF@<AHG8F<A4AHA78E;4A7874GG8@CGGB

6E84G84;84EF4LCEB5?8@ $$&$-$0 ++7-(2$#2 2$14(0*             + ) <FG ".)       4G

  -  $ /  #4E             8KC?4<A<A: <A :8A8E4? 5HF<A8FF E86BE7 ;84EF4L 8K68CG<BA

E8DH<E8@8AGF4A7ABG<A:P5EB478FGCBFF<5?8<AG8ECE8G4G<BAQB9PDH4?<9<87J<GA8FFQ4FFB@8BA8J;B

PHA78EFG4A7FG;8FLFG8@QGB?4LCEBC8E9BHA74G<BA9BE4CC?L<A:G;88K68CG<BA 

                         ((      .3#0$ 3"' -&$1'(1)312(%(" 2(.-%.0+ (-2(%%;12$0,(- 2(.-25("$

        9G8E G8??<A: G;8 &) G;4G &?4<AG<99SF G8E@<A4G<BA J4F 7H8 GB G;8 +A<I8EF<GLSF 5H7:8G

BH7E84HF;<9G87:84EFGJBJ88>F?4G8EJ;8A4AABHA6<A:;<F786<F<BAGBG;8+A<I8EF<GLSF946H?GL

  ABJ 6?4<@<A: G;4G ;8 FBH:;G 4 P6;4A:8 <A ?8478EF;<CQ J;<?8 @4><A: AB @8AG<BA B9 4AL

C8E9BE@4A68<FFH8F4A7G;4A><A:&?4<AG<999BE;8EF8EI<68P9BEG;8C4FGF8I8E4?L84EF Q&? SFAGE ) 

N  GJ4FBA?L49G8E&?4<AG<999<?87;8E6;4E:8B97<F6E<@<A4G<BAG;4G9BEG;8I8EL9<EFGG<@8

898A74AGF6?4<@87G;4G;8EC8E9BE@4A6864HF87<GF786<F<BA &? SFAGE ) NN                 

        *8??<A:?L;BJ8I8E898A74AGFSE8C?468@8AG9BE&?4<AG<99   8AA<98E"<:;G  8@C;4F<M87

G;8$6 "21 ,$/.(-21G;4G&?4<AG<99E8C84G87?L@478J;8AE8DH8FG<A:477<G<BA4?E8FBHE68FGB;8?C

J<G; BA:B<A: <AI8FG<:4G<BAF <A ;8E B99<68 :B<A: FB 94E 4F GB F4L G;4G F;8 P64AABG <@4:<A8 ;BJ

FB@8BA86BH?77BG;8J<784EE4LB946G<I<G<8F -#7B<AI8FG<:4G<BAF   14F2G;8;<89<I8EF<GL

%99<68ESF@4ALE8FCBAF<5<?<G<8F@4>8G;BEBH:;<AI8FG<:4G<BA7<99<6H?GQJ;<?8PFGE8FF1<A:2G;4GG;8

A8879BE49H?? G<@8<AI8FG<:4GBE<F:E84G    Q&? SFAGE ) N  A7E4G;8EG;4A7<F6<C?<A8BE9<E8

#F  "<:;G 9EB@ ;8E CBF<G<BA 898A74AG BH7E84H 786<787 GB HA<?4G8E4??L (-"0$ 1$ #F  "<:;GSF

4?E847L8K<FG<A:6B@C8AF4G<BA5L                 &? SFAGE ) N    

        898A74AGFS4E:H@8AGF  G;4G&?4<AG<9964AABGP6E84G84946G<FFH8BACE8G8KG5LCB<AG<A:

GBG;84??8:87?L789<6<8AGDH4?<9<64G<BAB9;8EFH668FFBEFQ4A7G;4G;8EFH668FFBEF4E8<@CEBC8E




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6B@C4E4GBEF   4E8 @<F:H<787  >G  $B   89F S #8@  4G             (4G;8E G;4A 4E:H8 G;4G

&?4<AG<99SF FH668FFBE J4F P789<6<8AGQ G;8 6E<G<64? 9B6HF <F <AFG847 G;4G BH7E84HSF 786<F<BA GB

CEBI<784E4<F8GB#F "<:;G4A7GBB998E@BE8E8FBHE68FGB;8E  FH6;4F;<E<A:4A477<G<BA4?

<AI8FG<:4GBE <4A4 HBMMB &? SF AGE )  N       7<E86G?L 6BAGE47<6G ;<F .0(&(- + 5H7:8G4EL

=HFG<9<64G<BA9BE&?4<AG<99SFG8E@<A4G<BA &? SFAGE ) N  *;<FFGEBA:?LFH::8FGF;<FHA?4J9H?

@BG<I4G<BAGBG8E@<A4G8&?4<AG<99SF8@C?BL@8AGJ4F;<FE8G4?<4GBEL4A<@HF 

        ?? GB?7 G;8 E86BE7 4@C?L 78@BAFGE4G8F 7<FCHG87 <FFH8F B9 @4G8E<4? 946G 6BA68EA<A:

898A74AGFS GEH8 @BG<I4G<BA 9BE G8E@<A4G<A: &?4<AG<99SF 8@C?BL@8AG  898A74AGF 6?4<@ <G J4F

FB?8?L5864HF8B9;8ECBBEC8E9BE@4A68 HG&?4<AG<99CB<AGFGBBI8EJ;8?@<A:E86BE78I<78A68G;4G

6BH?7?8474E84FBA45?8=HEBEGB6BA6?H78G;4G898A74AGFPJBH?7ABG;4I81G8E@<A4G87;8E2<AG;8

45F8A68 B9 4 E8G4?<4GBEL @BG<I8 Q 5 -   7 4G   *;8 BHEG F;BH?7 G;8E89BE8 78AL

898A74AGFS@BG<BA4FG;86B@C8G<A:8I<78A68@4>8FG;<F64F8P:E<FG9BEG;8=HELSF@<?? Q3!(-

    + ) <FG ".)           -"4G6<G<A: -#$01.-4(!$027.!!7-"

+ )      

                ,/+% %#.0$ 4)$%-#% 3//.021 +!)-2)&&:1 (%.07 2(!2 %0 $4.#!#7 .-
                  %(!+&.& 302)1)!1%$ %&%-$!-212.%2!+)!2%

        898A74AGFA8KG94?F8?L4E:H8G;4GPG;8E8<FAB8I<78A68G;4G&?4<AG<998I8A8A:4:87<A4AL

7<F45<?<GL E8?4G87 R47IB646LS 9BE (<4F 7HE<A: ;8E 6BAI8EF4G<BA J<G; &E8F<78AG BH7E84HQ

@<FE8CE8F8AG<A:G;8E86BE74A76?4<@<A:G;4G&?4<AG<99PBA?LJBE>87BAHEG<F(<4FSFE8DH8FG9BE4

7<F45<?<GL466B@@B74G<BA4GG;84CC84??8I8?Q4A7G;4G&?4<AG<99P6BH?7ABGE8@8@58EQ4ALG;<A:

E8?4G<A: GB 898A74AG BH7E84H BA G;<F @4GG8E  >G  $B   89F S #8@  4G  8@C;4F<F <A

BE<:<A4?  (4G;8E G;8 E86BE7 8I<78A68 6?84E?L 6BAA86GF &?4<AG<99SF 47IB646L BA 58;4?9 B9 HEG<F

(<4F   5BG; !$%.0$ +$/SF H@4A (8FBHE68F 78A<87 ;<F BE<:<A4? 7<F45<?<GL 466B@@B74G<BA




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E8DH8FG4A7 %2$0&?4<AG<9958:4AJBE><A:BA;<F4CC84?  GB;8E9<A4?BCCBF<G<BAGB898A74AG

BH7E84HSF4A7BG;8EFS78F<E8GBBI8EG?LE8G4?<4G874:4<AFG#E (<4F=HFGJ88>F589BE8;8E9<E<A: 

        &?4<AG<996B@C8G8AG?L7<FCHG8F898A74AGFS4E:H@8AGFE8?4G<A:GBHEG<F(<4F <EFGJ;<?8

<GLB??8:8SFH@4A(8FBHE68F8C4EG@8AG78A<87#E (<4FSFE8DH8FG<A 4AH4EL               4G?84FG

4F84E?L4F%6GB58E         &?4<AG<99@8GJ<G;#E (<4F4A78K6;4A:874F8E<8FB9?8A:G;L8@4<?F

J<G;;<@;<FFHC8EI<FBEF4A7F8A<BE(@4A4:8E B;A)<78E4><F &? SFAGE ) NN                #E 

(<4FSF6B@C?4<AGF8AGI<48@4<?GB&?4<AG<99<A%6GB58E       4??8:877<F6E<@<A4G<BA4A7E8G4?<4G<BA

54F87BA;<FE4687<F45<?<GL4A7ABG L8G 9<?87E8DH8FG9BE466B@@B74G<BA &? SFAGE ) NN

    9G8EG;4G8@4<?#E (<4F@8GJ<G;&?4<AG<994A78KCE8FF87GB;8EG;8F86BA68EAF4FJ8??4F

6BA68EAF E8?4G<A: GB F8KH4? BE<8AG4G<BA 7<F6E<@<A4G<BA 4:4<AFG ;<@  &? SF AGE )  N        

&?4<AG<99 G;8A 11(12$# #E  (<4F J<G; 9<?<A: ;<F 466B@@B74G<BA E8DH8FG J;<6; J4F H?G<@4G8?L

78A<87 &? SFAGE ) N 

        898A74AGFS 94?F8 6?4<@   G;4G &?4<AG<99 P945E<64G81872Q BH7E84HSF HA?4J9H? G;E84GF

4:4<AFG#E (<4F4FPJ;B??L78IB<7B98I<78AG<4ELFHCCBEGQ  E8CE8F8AGF45BE78E?<A854794<G;

4E:H@8AG J;B??L HAG8G;8E87 9EB@ G;8 46GH4? E86BE7 8I<78A68  *;4G <F HCBA H@4A (8FBHE68F

78AL<A:#E (<4FSF466B@@B74G<BAE8DH8FGG;8E86BE7C?4<A?L78@BAFGE4G8F;BJ&?4<AG<99IB64??L

47IB64G87 4:4<AFG 898A74AG BH7E84HSF 4A7 BG;8EFS F6;8@8 GB E8G4?<4G8 4:4<AFG #E  (<4F <A

E8FCBAF8GB#E (<4FSF786<F<BAGB9<?84AP8KG8EA4?Q6B@C?4<AGJ;<6;?87&?4<AG<99GBFC86<9<64??L

B5F8EI8898A74AGBH7E84H586B@8PBHGE4:87 Q&? SFAGE ) N           8E47IB646LBA58;4?9B9

#E (<4F4A74:4<AFGE8G4?<4G<BAJ4F%6/+)#)24A77<E86G87GB4@BA:BG;8E<A7<I<7H4?F898A74AG

BH7E84H7HE<A:4@88G<A:=HFG498JJ88>F589BE8;8EG8E@<A4G<BA &? SFAGE ) NN   );8

BCCBF87BH7E84HSF4A7BG;8EFSI<8JG;4G#E (<4FJ4FP4GEBH5?8@4>8EQ7H8GB9<?<A:;<F8KG8EA4?

6B@C?4<AG4A78KCE8FF?LFG4G87G;4G6;BBF<A:GB6B@@8A68C8E9BE@4A688I4?H4G<BAF4:4<AFG#E 




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(<4F  9BEG;89<EFGG<@8<A;<FA84E?LGJ8AGL L84EG8AHE84F4A8@C?BL88  JBH?758I<8J874F

E8G4?<4G<BA5864HF8G;8BA?LE84FBA9BEBH7E84HSF4A7BG;8EFS786<F<BAGB6B@@8A68G;8E8I<8JF

J4FPGB@4>81JBE>27<99<6H?G9BE1#E (<4F2 Q&? SFAGE ) NN           

        898A74AGF 7<FCHG8 &?4<AG<99SF 466BHAG BA?L 5L CB<AG<A: GB 898A74AG BH7E84HSF BJA

G8FG<@BAL  5HGBH7E84H;<@F8?947@<GFG;4G;84A7&?4<AG<994GG8A787G;<FF4@8@88G<A: &? SF

AGE ) N  4E9EB@4@BHAG<A:GBP<A47@<FF<5?8FC86H?4G<BA45BHGG;84GG8A788FS6B??86G<I8

@8AG4?FG4G8Q4F898A74AGFFH::8FG>G $B 89FS#8@ 4G &?4<AG<99FC86<9<64??LABG8F

BH7E84HSF EB?8 <A G;8 E8G4?<4GBEL F6;8@8 J;<?8 6B@C8G8AG?L G8FG<9L<A: 45BHG ;8E BCCBF<G<BA

G;8E8GB  *;<F <F @BE8 G;4A 8ABH:; GB F4G<F9L ;8E /0(,  % "($ 5HE78A E8?4G<A: GB ;8E HEG<F (<4F

G;8BELB9E8G4?<4G<BA4A7G;8BHEGF;BH?7FJ<9G?LE8=86G898A74AGFS4E:H@8AG 

                +!)-2)&&0%1%-213"12!-2)!+4)$%-#%.&0%2%62 0%!2)-' )1/32%$113%1.&
                  !2%0)!+!#2!00!-2)-' %-)!+.&3,,!073$',%-2

        (8C84G<A: G;8<E F4@8 4E:H@8AG E8?4G<A: GB "LA74 B77 898A74AGF 4:4<A 6?4<@ G;4G

&?4<AG<9964AABGF;BJG;4G898A74AGFS786<F<BAGBG8E@<A4G8;8EJ4FCE8G8KG4E:H<A:G;4GG;8E8<F

PAB6B@C8G8AG8I<78A68QGBFHCCBEG&?4<AG<99SFG;8BE<8F HG4FF8G9BEG;45BI8<A4@C?878G4<?G;8

8K4@C?8F898A74AGF6<G8  HA78EFG499<A:&?4<AG<99SF78C4EG@8AG6HGG<A:G;8;BHEFB9&?4<AG<99SF

<AI8FG<:4GBE4A7E87H6<A:898A74AGFS<AG8E46G<BAFJ<G;&?4<AG<99  4E84??FHCCBEG875L6B@C8G8AG

8I<78A68G;4GFGEBA:?L<A7<64G84E8G4?<4GBEL4A<@HF58;<A7898A74AGFS786<F<BAFGB7B846;B9

G;8F8G;<A:F G<F4?FBJ8?? 8FG45?<F;87)86BA7<E6H<G?4JG;4GP4C?4<AG<99@4LE8?LBA8I<78A68

6B@CE<F<A:;8E/0(, % "($64F8<A6?H7<A:G8@CBE4?CEBK<@<GLGB:8G;8EJ<G;BG;8E8I<78A68FH6;

4F <A6BAF<FG8AG 8@C?BL8E 8KC?4A4G<BAF GB 78984G FH@@4EL =H7:@8AG 4G G;4G FG4:8 Q 5 - 

 74G6B??86G<A:64F8F 8E8&?4<AG<997B8F=HFGG;4G4A7@BE8

               • 898A74AG G8E@<A4G87 &?4<AG<99 @8E8 J88>F 49G8E ;8E BCCBF<G<BA GB E8G4?<4G<BA
                  4:4<AFGHEG<F(<4FPBHGE4:87Q898A74AGBH7E84H&? SFAGE ) N 



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             • 898A74AG 6HG ;<F @88G<A:F J<G; &?4<AG<99 4:4<AFG ;<F BJA CE46G<68F 4A7 4:4<AFG
                9BE@4?+A<I8EF<GLCB?<6LBA?LGBE8<AFG<GHG8G;8@49G8E;8EG8E@<A4G<BAGB58A89<G
                ;8EFH668FFBE&? SFAGE ) NN              4A7

             • 898A74AG A8I8E :4I8 &?4<AG<99 4AL C8E9BE@4A68 8I4?H4G<BAF BE <A7887 4AL
                9887546>4G4??BA4AL4??8:87PC8E9BE@4A68<FFH8FQ&? SFAGE ) NN   
                 

             • 898A74AGF CEBI<787 G;E88 F8C4E4G8 =HFG<9<64G<BAF 9BE G;8<E 786<F<BA GB G8E@<A4G8
                &?4<AG<99&? SFAGE ) NN  4A7

             • 898A74AGB998E87@BE8E8FBHE68FGB&?4<AG<99SF78C4EG@8AG49G8E;8EG8E@<A4G<BA
                7<E86G?L6BAGE47<6G<A:G;8<E%(012E84FBA9BE;8EG8E@<A4G<BA&? SFAGE ) NN 
                      

         *;8F8946GF4??CB<AGGBP<A6BAF<FG8AG8@C?BL8E8KC?4A4G<BAFQ9BEBH7E84HSF6BA7H6G4A7

9BE ;<F 786<F<BA GB G8E@<A4G8 &?4<AG<99SF 8@C?BL@8AG  *;<F <F @BE8 G;4A 8ABH:; 9BE &?4<AG<99 GB

78@BAFGE4G87<FCHG87<FFH8FB9@4G8E<4?946GE8@4<A9BE4=HELGB786<78 A7I<8J<A:G;BF8946GF

<A G;8 ?<:;G @BFG 94IBE45?8 GB &?4<AG<99 4 =HEL 6BH?7 E847<?L 9<A7 G;4G J8E8 <G ABG 9BE &?4<AG<99SF

47IB646L  J;8G;8EBA58;4?9B9"LA74B77BEBA58;4?9B9HEG<F(<4F  898A74AGFJBH?7

-.2;4I89<E87&?4<AG<99J;8AG;8L7<7 *;8BHEGF;BH?7G;8E89BE878AL898A74AGFS@BG<BA 

               
          :   

         898A74AGFS4E:H@8AG4:4<AFG&?4<AG<99SF)86G<BA  6?4<@<F4@8E8E8FG4G8@8AGB9G;8<E

4E:H@8AG4:4<AFG&?4<AG<99SFHEG<F (<4F 54F87(8;45<?<G4G<BA6G6?4<@F<@C?LE864FG<A:G;8F4@8

CBF<G<BAF4A76?4<@<A:G;4GG;8E8<FPAB8I<78A68QB9&?4<AG<996B@C?4<A<A:GB898A74AGBH7E84H

BEB9898A74AGBH7E84HSFE846G<BAG;8E8GB $$&$-$0 ++7>G $B 89F S#8@ 4G   

HG4F78F6E<587<A78G4<?45BI8&?4<AG<99<A946G7<747IB64G8BA58;4?9B9HEG<F(<4F7<E86G?LGB

898A74AGBH7E84H4A7BG;8EFBCCBF<A:G;8<E899BEGFGBE8G4?<4G84:4<AFG#E (<4F49G8E;89<?87

;<F8KG8EA4?6B@C?4<AGJ<G;G;8% $$&$-$0 ++7)86G<BAF  13/0 




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        *;8E8<FAB7<FCHG8G;4G#E (<4FSF6B@C?4<AG<AIB?I876?4<@FB9E4687<F6E<@<A4G<BA  

4A7&?4<AG<99CB<AGFGB6B@C8G8AG8I<78A68<AG;8E86BE77<FC?4L<A:;<FE468 54F876B@C?4<AGFGB

;8E589BE8898A74AGF78A<87;<F<A<G<4?466B@@B74G<BAE8DH8FG4A7589BE8898A74AGFC?4AA87

BAE8G4?<4G<A:4:4<AFG;<@9BEFG4A7<A:HC9BE;<FE<:;GF &? SFAGE ) NN           66BE7<A:?L

&?4<AG<99 F4G<F9<8F ;8E /0(,  % "($ 5HE78A 5L 78@BAFGE4G<A: G;4G ;8E G8E@<A4G<BA J4F 9B??BJ87

6?BF8?L<AG<@8GB;8EBCCBF<G<BAGB898A74AGBH7E84HSF4A7BG;8EFSF6;8@8GBE8G4?<4G84:4<AFG

#E (<4F4G?84FG<AC4EG7H8GB;<FE468 54F876B@C?4<AGF A7;8E/0(, % "($8I<78A686BHC?87

J<G;;8E8I<78A68G;4G898A74AGFSGEH8@BG<I4G<BA9BE;8EG8E@<A4G<BAJ4F<A7887G;8<EE8G4?<4GBEL

4A<@HFF4G<F9<8F;8E5HE78AGBCE8F8AG7<FCHG87<FFH8FB9@4G8E<4?946GG;4G6BH?7?8474E84FBA45?8

=HEL GB 6BA6?H78 898A74AGFS CEB998E87 ?8:<G<@4G8 E84FBA 9BE <GF 786<F<BA J4F @8E8 CE8G8KG 

898A74AGF 4GG8@CG GB 64FG 898A74AG BH7E84HSF FLFG8@4G<6 HA78E@<A<A: B9 &?4<AG<99 4A7 ;8E

B99<68 ;<F <A6BAF<FG8AG 58;4I<BE 589BE8 4A7 49G8E G8E@<A4G<A: &?4<AG<99SF 8@C?BL@8AG 4A7 ;<F

F;<9G<A:=HFG<9<64G<BAF9BE;<F786<F<BA  4??4F@8E8PJBE>C?468F?<:;GF Q>G $B 89F S#8@ 

4G   HGG;8F84E8ABG<FB?4G87<A6<78AGF *;8L<AFG84778@BAFGE4G8898A74AGBH7E84HSF

E8G4?<4GBEL4A<@HFGBC4<AG&?4<AG<994F4CBBEC8E9BE@8E %2$02'$% "2B9;8EG8E@<A4G<BA<A4G;<A?L

I8<?87899BEGGB8A46GE8I8A:84:4<AFG&?4<AG<999BEE8C84G87?LBCCBF<A:BH7E84HSF7<F6E<@<A4GBEL

4A7E8G4?<4GBELC8EFBAA8?786<F<BAF A7<G<FJ8?? F8GG?87G;4G46B@5<A4G<BAB9<FB?4G87<A6<78AGF

@4L9BE@G;854F<FB94E8G4?<4G<BA6?4<@PBA68G;8LE846;46E<G<64?@4FF Q$$.+.-4 0#

 CCK       7<E     6<G<A:'(++(/14 .5$-  7             7<E     

78F6E<5<A:P6E<G<64?@4FFQG;8BEL<A6BAG8KGB9<EFG@8A7@8AGE8G4?<4G<BA6?4<@ -;<?8846;B9

&?4<AG<99SF47I8EF846G<BAFFG4A7<A:4?BA8JBH?7F4G<F9L;8E5HE78AF;88I8A@BE884F<?L78984GF

898A74AGFS@BG<BAJ;8AG;8L4E8I<8J87GB:8G;8E4F46E<G<64?@4FFB9E8G4?<4GBEL8I8AGF 




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        BEG;8F4@8E84FBAFG;8AG;4GG;8BHEGF;BH?7E8=86G898A74AGFS@BG<BABA&?4<AG<99SF

(8;45<?<G4G<BA 6G 6?4<@ FB GBB F;BH?7 G;8 BHEG 78AL 898A74AGFS @BG<BA BA &?4<AG<99SF

E8G4?<4G<BA6?4<@HA78E)86G<BA  

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        898A74AGF 6BA6878 &?4<AG<99 ;4F 8FG45?<F;87 ;8E /0(,  % "($ 64F8 BA ;8E $/("

E8G4?<4G<BA6?4<@46>ABJ?87:<A:G;4GP&?4<AG<99SFG8E@<A4G<BAQ@88GFG;8P@BE8?8A<8AGQFG4A74E7

HA78EG;8<GL"4J >G $B 89F S#8@ 4G 898A74AGF4?FB6BA6878G;4G&?4<AG<99A887

ABGCEBI8G;4G898A74AGFSE8G4?<4GBEL<AG8AGJ4FG;85HG 9BE64HF8B9;8EG8E@<A4G<BA(# 4G  

5864HF8&?4<AG<99A887BA?LF;BJG;4GE8G4?<4G<BAC?4L87P4ALC4EGQ<A898A74AGFS47I8EF846G<BAF 

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  )  $ /  H:          #BE8BI8E HA78E G;8 $/(" G;8 789<A<G<BA B9 4A P47I8EF8

46G<BAQ<F5EB478EG;4A9878E4?E8G4?<4G<BAFG4GHG8FE8DH<E<A:BA?L4F;BJ<A:G;8P46G<BAG;4GJBH?7

58E84FBA45?L?<>8?LGB78G8E4C8EFBA9EB@8A:4:<A:<A4CEBG86G8746G<I<GL Q#.-&.4           -*.%

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+A<I8EF<GLSFCE46G<68FJ<G;E8FC86GGB&?4<AG<99SF=B5F8EI84F6B@C8G8AG8I<78A68B9CE8G8KG4F

BH7E84H <@@87<4G8?L E8<AFG<GHG87 ;<F 4A7 G;8 +A<I8EF<GLSF CB?<6<8F 4A7 CE46G<68F <A 94IBE B9

&?4<AG<99SF FH668FFBE  4F87 BA G;8 $/("SF 94E @BE8 P?8A<8AGQ E8G4?<4G<BA FG4A74E7 G;4A <GF

9878E4?4A4?B:H8F&?4<AG<9984F<?L@88GF;8E/0(, % "($5HE78A4A7E85HGF898A74AGFSCEB998E87




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=HFG<9<64G<BAF9BE;8EG8E@<A4G<BA78@BAFGE4G<A:G;4G4=HEL6BH?79<A7G;BF8F;<9G<A:=HFG<9<64G<BAF

GB58CE8G8KG 

        F78F6E<5874G?8A:G;45BI8G;8P<A6BAF<FG8A6<8F<AG;8I4E<BHF8KC?4A4G<BAFB998E87Q5L

898A74AGF 4F J8?? 4F 8I<78A68 G;4G BH7E84H 5864@8 PBHGE4:87Q <A E8FCBAF8 GB &?4<AG<99SF

B5=86G<BAGBE8G4?<4G<A:4:4<AFG#E (<4FP6B@5<A87J<G;G;8G8@CBE4?CEBK<@<GL58GJ88A1;8E2

6B@C?4<AGFQ 4A7 &?4<AG<99SF G8E@<A4G<BA 6E84G8 4 P@4G8E<4? 7<FCHG8 4F GB J;8G;8E 1898A74AGFS2

46G<BAF J8E8 @8E8?L 4 CE8G8KG 9BE <@C8E@<FF<5?8 E8G4?<4G<BA HA78E $/("SF @BE8 ?<58E4?

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       4F87 BA G;8 9BE8:B<A: &?4<AG<99 E8FC86G9H??L E8DH8FGF G;4G G;8 BHEG 78AL 898A74AGFS

@BG<BA9BEFH@@4EL=H7:@8AG<A<GF8AG<E8GL 

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